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                        UNITED STATES COURT OF APPEALS
                             FOR THE THIRD CIRCUIT
                                  ___________

                                       No. 18-1849
                                       ___________

                  OBASI INVESTMENT LTD; JINGLI SHAO; ROBIN
                 JOACHIM DARTELL; LIXIN WU; JASON HELTON;
               SEAN CARITHERS, individually and on behalf of all others
                               similarly situated

                                             v.

                  TIBET PHARMACEUTICALS, INC; HONG YU;
                       TAYLOR Z. GUO; SABRINA REN;
                WENBO CHEN; YOUHANG PEN; SOLOMON CHEN;
                       ANDERSON & STRUDWICK INC;
                   STERNE AGEE GROUP INC; HAYDEN ZOU;
              L. MCCARTHY DOWNS, III; ACQUAVELLA CHIARELLI
                      SHUSTER BERKOWER & CO., L.L.P.,

                     HAYDEN ZOU; L. MCCARTHY DOWNS, III
                                          Appellants
                                 __________

                     On Appeal from the United States District Court
                             for the District of New Jersey
                               (D.C. No. 2-14-cv-03620)
                         District Judge: Hon. John M. Vazquez
                                      ___________

                           Argued February 12, 2019
             Before: HARDIMAN, SCIRICA, and COWEN, Circuit Judges.
                                ___________

                                       JUDGMENT
                                       ___________

         This cause came on to be heard on the record from the United States District Court
 for the District of New Jersey and was argued on February 12, 2019. On consideration
 whereof, it is now hereby
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         ORDERED and ADJUDGED that the order of the United States District Court for
 the District of New Jersey entered May 10, 2017 be and the same is hereby REVERSED
 as to liability under 15 U.S.C. § 77k(a)(3) against Appellants Hayden Zou and L.
 McCarthy Downs, III, and REMANDED to the District Court with instructions to vacate
 its order as to the same and enter judgment in favor of Zou and Downs. All of the above
 in accordance with the Opinion of this Court.

       Costs taxed in favor of Appellants.

                                         ATTEST:


                                         s/Patricia S. Dodszuweit
                                         Clerk
 Dated: July 23, 2019




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